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                                       IN THE UNITED STATES DISTRICT COURT
                                          FOR THE DISTRICT OF MARYLAND
                                                SOUTHERN DIVISION

           STANLEY M. GRABILL, JR.                        *
           MCIH DOC-ID#324885
           Maryland Correctional Institution              *
           18601 Roxbury Road                                                                _FILED    _ENTERED
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           Hagerstown, Maryland 21746,                    *
                  Plaintiff,                              *                                       JAN        42013

           v.                                             *                            BY
                                                                                                    AT GREENBELT
                                                                                              CLERK, U.S. DISTRICT COURT
                                                                                                DISTRICT OF MARYLAND
                                                                                                                           \
                                                                                                                               v----
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                                                                                                                           DEPUTY

           CORIZON, INC., f/k/a CORRECTIONAL              *
           MEDICAL SERVICES, INC.
           105 Westpark Drive, Suite 200                  *
           Brentwood, Tennessee 37027,
                                                          *
           SERVE ON RESIDENT AGENT:
                The Corporation Trust, Incorporated       *
                351 West Camden Street
                Baltimore, Maryland 21201,                *
                  Defendant.                              *      Civil Action No.:    JK 13 CV 039                t



           *      *         *     *       *       *       *      *       *        *      *        *           *        *
                                                      COMPLAINT

                  Stanley M. Grabill, Jr., Plaintiff, by and through his undersigned attorneys, Gregory L.

           Lockwood      and Treanor    Pope and Hughes, P.A., sues Corizon, Inc. formerly known as

           Correctional Medical Services, Inc., and in support thereof, states:

                                              JURISDICTION AND VENUE

                   1.      Plaintiff Stanley M. Grabill, Jr. is a citizen of the State of Maryland and a current

           resident at the Maryland Correctional Institute at Hagerstown in Washington County, Maryland.

                  2.       Corizon, Inc. is a Missouri corporation whose headquarters are 105 Westpark

           Drive, Suite 200, Brentwood, Tennessee 37027. At all relevant times, Corizon, Inc. ("Corizon")
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was under contract with the State of Maryland to provide health care services to inmates housed

within the Maryland State Department of Corrections.

        3.       Through its agents, servants, and employees, including but not limited to Erwin R.

Aldana, M.D., Melaka Ayalew, M.D., and Dr. Malik, Corizon, Inc. practices and transacts

business throughout the State of Maryland, and in Baltimore City, in particular.

        4.       Corizon employs physicians who were, at all times relevant hereto, licensed to

practice medicine throughout the State of Maryland, including Baltimore City, Maryland, who

represented to the Claimant, and to the public at large, that they possessed that degree of skill,

knowledge     and ability possessed by reasonably competent medical practitioners,         practicing

under the same and similar circumstances as those involving the Plaintiff, Stanley Grabill. These

physicians included, but were not limited to, Erwin R. Aldana, M.D., Melaka Ayalew, M.D., and

Dr. Malik.

        5.      The amount of this claim exceeds Seventy-Five Thousand Dollars ($75,000.00).

        6.      This Court has original subject matter jurisdiction over this matter pursuant to the

provisions of28 U.S.C.    S   1332, because the amount in controversy exceeds the sum of$75,000,

exclusive of interest and costs, and the action is between citizens of different states.    There is

complete diversity of citizenship.

                              FACTS COMMON TO ALL COUNTS

        7.      In late 2004 and the early part of 2005, Mr. Grabill began to experience

abdominal symptoms, including a change in bowel habits and bleeding from the rectum.

        8.      In response to these complaints, Mr. Grabill came under the care of Drs. Aldana,

Malik, and Ayalew, and other physicians and health care providers, all of whom were agents,

servants, and employees of Corizon, Inc. acting within the scope of their employment.


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        9.       In response to Mr. Grabill's complaints, the aforementioned physicians and health

care providers     repeatedly reassured him that nothing serious was wrong, that he just had

"prostate problems", and that he needed "bed rest". They specifically failed and refused to send

him to the hospital to have his condition investigated and diagnosed.

        10.      In or about February of 2007, Mr. Grabill began passing large amounts of blood

in his stool. He was taken by stretcher to the infirmary, where an ambulance was called to take

him to the hospital; however, this ambulance was subsequently cancelled.

        11.      Approximately one week later, upon experiencing a recurrence of his symptoms,

Mr. Grabill was taken to the Washington County Hospital Center on or about February 20, 2007,

where it was determined that he had a cancerous tumor of his colon.

        12.      Surgery was performed which required resection of the bowel, and the creation of

a colostomy.     Although this colostomy was to be reconnected "later", this was not done, and Mr.

Grabill has this colostomy to the present day.

                                             COUNT I
                                          NEGLIGENCE

        13.      The facts and matters alleged in Paragraphs 1 through 12 above, are repeated and

realleged as if fully set forth herein.

        14.      As a health care provider rendering services to patients in the State of Maryland,

Corizon, through its agents, servants and employees, including Drs. Aldana, Ayalew, and Malik

owed to the public at large and to Mr. Grabill in particular a duty to exercise that degree of skill

and care ordinarily     exercised by reasonably competent practitioners      within their areas of

specialty acting under the same or similar circumstances.




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                15.      Corizon and its agents, servants, and employees breached the applicable standards

        of care in the treatment rendered to Mr. Grabill in that they failed to use due care and appropriate

        technique     in diagnosing his condition in late 2004 and 2005, failed to order appropriate

        diagnostic and/or therapeutic tests, failed to refer Mr. Grabill to the hospital for comprehensive

        diagnostic work-up, and were otherwise negligent.

                16.      As a direct result of the negligence as aforesaid, Mr. Grabill's tumor was allowed

        to continue to develop. As a consequence, he has experienced the need for surgical excision of

        the tumor, creation of the colostomy, and associated pain, mental anguish, embarrassment,

        humiliation, permanent disfigurement and permanent residual deficits as well as other economic

        and non-economic damages, including past and future medical expenses, without any negligence

        on his part contributing thereto.

                WHEREFORE,        Stanley M. Grabill, Jr. demands judgment against Corizon, Inc. for all

        injuries and damages which he has suffered as a consequence of the negligence of this Defendant

        as aforesaid.

                                                      Respectfully submitted,




                                                       dILl
                                                      Gregory L. Lockwood
                                                      Maryland U.S. District Bar No. 07971
                                                      Treanor Pope & Hughes, P.A.
                                                      500 York Road
                                                      Towson, Maryland 21204
                                                      Tel: (410) 494-7777

                                                      Attorneys for Plaintiff




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                              FOR THE DISTRICT OF MARYLAND                                     JAN       4 2013
                                    SOUTHERN DIVISION
                                                                                            AT GREENBELT

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                                                                                                  DISTRICT COURT
                                                                                                  OF MARYLAND
STANLEY M. GRABILL, JR.,                                 *                                                         DEPU1Y


       Plaintiff,                                        *
v.                                                       *
CORIZON, INC.,                                           *
                                                                        JKB 1 3 CV 0 03' ~
       Defendant.                                        *   Civil Action No.:

*       *       *      *       *       *      *          *    *         *   *         *              *      *
                                   DEMAND FOR JURY TRIAL

       The Plaintiff, pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, hereby

demands a trial by jury in the above-captioned action.

                                              Respectfully submitted,


                                               4/L~
                                              Gregory L. Lockwood, Esquire (#07971)
                                              Treanor Pope & Hughes, P.A.
                                              500 York Road
                                              Towson, Maryland 21204
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                                              gllockwood0),tph-Iaw.com

                                              Attorneys for Plaintiff
